Case 3:09-cr-30146-DRH      Document 118 Filed 02/19/10      Page 1 of 2   Page ID
                                      #237



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

BRYAN HOUK,

      Defendant.                                    Case No. 09-cr-30146-5-DRH


                                     ORDER

HERNDON, Chief Judge:

            This matter was referred to United States Magistrate Judge Clifford J.

Proud for the specific purpose of conducting a change of plea hearing for defendant

Bryan Houk, pursuant to 28 U.S.C. § 636, SDIL-LR 72.1(b)(2), with the Parties’

consent. The change of plea hearing was held on January 29, 2010 (Doc. 93)

pursuant to FEDERAL RULE OF CRIMINAL PROCEDURE 11, during which defendant

Bryan Houk plead guilty to Count 1 of the Superseding Indictment, following a

thorough colloquy with Judge Proud. A Report and Recommendation (“R&R”) (Doc.

100) was issued, recommending the Court accept Defendant’s plea of guilty. In

accordance with 28 U.S.C. § 636(b)(1)(B), the Parties were allowed fourteen (14)

days from the issuance of the R&R to file written objections thereto.

            Neither Party filed timely objections. Therefore, the Court ADOPTS the

R&R (Doc. 100) in its entirety.

                                    Page 1 of 2
Case 3:09-cr-30146-DRH      Document 118 Filed 02/19/10      Page 2 of 2    Page ID
                                      #238



            The Court finds that Defendant is fully competent and capable of

entering an informed plea, that Defendant is aware of the nature of the charges and

the consequences of the plea, and that the plea of guilty is a knowing and voluntary

plea supported by an independent basis in fact containing each of the essential

elements of the offense.

            Accordingly, the Court ACCEPTS defendant Bryan Houk’s guilty plea

and ADJUDGES him GUILTY of Count 1 of the Superseding Indictment (Doc. 54).

The United States Probation Office is DIRECTED to prepare a presentence

investigation report.   The SENTENCING HEARING for defendant Bryan Houk

remains scheduled for May 14, 2010 at 10:00 a.m.

            IT IS SO ORDERED.

            Signed this 19th day of February, 2010




                                             /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court




                                    Page 2 of 2
